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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 LEE C. KAMIMURA,                                       Case No.: 2:16-cv-00783-APG-CWH

 4          Plaintiff                                  Order Denying Pending Motions as Moot

 5 v.                                                           [ECF Nos. 59, 79, 80, 87]

 6 GREEN TREE SERVICING, LLC,

 7          Defendant

 8         In light of the parties’ notice of settlement and agreement to withdraw all pending

 9 motions without prejudice,

10         IT IS ORDERED that all pending motions (ECF Nos. 59, 79, 80, 87) are DENIED

11 without prejudice.

12         IT IS FURTHER ORDERED that on or before January 2, 2019, the parties shall file

13 either a motion for preliminary approval of class action settlement or a status report regarding

14 settlement.

15         DATED this 7th day of November, 2018.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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